Case 18-57795-pwb             Doc 32       Filed 02/09/21 Entered 02/09/21 09:24:36                   Desc Main
                                           Document     Page 1 of 4



                                 UNITED STATES BANKRUPCY COURT
                                  NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

IN RE:                                                  )
                                                        )         CHAPTER 7
JAMES PICKERING ATWOOD,                                 )
                                                        )         CASE NO. 18-57795-PWB
         Debtor.                                        )
---------------------------------------------------------------------------------------------------
JAMES PICKERING ATWOOD,                                 )
                                                        )
         Movant,                                        )
                                                        )         CONTESTED MATTER
v.                                                      )
                                                        )
WILLOWICK CONDOMINUM                                    )
ASSOCIATION, INC. ,                                     )
                                                        )
         Respondent.                                    )


       RESPONSE TO MOTION FOR CONTEMPT OF DISCHARGE INJUNCTION BY
                WILLOWICK CONDOMINIUM ASSOCIATION, INC.

         Respondent, Willowick Condominium Association, Inc. ("Association"), by and through

its counsel, Dorough & Dorough, LLC, hereby responds to Debtor's Motion for Contempt of

Discharge Injunction by Willowick Condominium Association, Inc., denying any violation of the

discharge injunction and respectfully showing this Court as follows:

                                    I. PROCEDURAL BACKGROUND

         1.       The Association, a Condominium, obtained a Foreclosure Order and Judgment

against the Movant, James Pickering Atwood, in the Superior Court of Dekalb County, Georgia,

on April 11, 2018 for unpaid condominium assessments, costs of collection and interest.

         2.       Debtor filed the instant Chapter 7 bankruptcy on May 7, 2018.

         3.       Debtor included the Association as a creditor in the Chapter 7 and filed his

Motion to Determine Secured Status and void Junior Lien Held by Willowick Condominium
Case 18-57795-pwb        Doc 32     Filed 02/09/21 Entered 02/09/21 09:24:36             Desc Main
                                    Document     Page 2 of 4



Assoc., Inc. on July 16, 2018.

          4.    The Court denied Debtor’s motion by the Order entered on July 19, 2018 and the

Association’s lien remains in place.

          5.    Debtor’s bankruptcy was discharged.

          6.    By and through prior counsel and following the removal of the automatic stay by

virtue of Debtor’s discharge, the Association initiated foreclosure proceedings for Movant’s Unit

in the Willowick Condominium through the DeKalb County Sheriff’s Office on March 24, 2020.

          7.    Debtor was notified of the Association’s intent to pursue foreclosure of its lien

and of Debtor’s obligation to pay post-petition condominium assessments that Debtor had failed

to pay.

          8.    The foreclosure proceedings were delayed due to the COVID-19 pandemic, but

the foreclosure sale has been set for March 2, 2021.

                                         II. ARGUMENT

          9.    Debtor provides no valid legal basis for the allegation that the Association has

violated the Discharge Injunction arising from Debtor’s discharge.

          10.   The Association has taken no action to collect any discharged amount from

Debtor, instead only taking actions necessary to foreclose its lien for condominium assessments

or to pursue post-petition balances which were not subject to Movant’s discharge.

          11.   The Association's lien remains in place pursuant to this Court’s Order denying

Debtor’s Motion to void the same as the lien is secured by both by judgment and by virtue of the

Georgia Condominium Act ("Act"), specifically, O.C.G.A. § 44-3-70, et seq. which provides the

Association with an automatically perfected lien for past due assessments and related charges,

including but not limited to attorney's fees actually incurred.
Case 18-57795-pwb      Doc 32   Filed 02/09/21 Entered 02/09/21 09:24:36        Desc Main
                                Document     Page 3 of 4



       12.     WHEREFORE, Respondent requests that the Court issue an order denying

Movant’s Motion for Contempt of Discharge Injunction by Willowick Condominium

Association, Inc.

                                          Respectfully submitted,


                                                 /s/
                                          Benjamin P. Ost
                                          Attorney for Respondent
                                          Georgia Bar No. 373154
Dorough & Dorough, LLC
Attorneys for Respondent
160 Clairemont Avenue, Suite 650
Decatur, Georgia 30030
(404) 687-9977
Case 18-57795-pwb          Doc 32   Filed 02/09/21 Entered 02/09/21 09:24:36          Desc Main
                                    Document     Page 4 of 4



                                    CERTIFICATE OF SERVICE

       This is to certify that I have served a copy of the foregoing Response Motion for

Contempt of Discharge Injunction by Willowick Condominium Association, Inc. upon the

parties listed below by depositing same in the United States Mail, with adequate postage affixed

thereon to ensure delivery and addressed as follows:



                Debtor:                James Pickering Atwood
                                       1 Willowick Drive
                                       Stonecrest, Georgia 30038

                Trustee:               S. Gregory Hays
                                       Hays Financial Consulting, LLC
                                       Suite 555
                                       2964 Peachtree Road
                                       Atlanta, GA 30305




       This 9th day of February, 2021.



                                                    /s/
                                             Benjamin P. Ost
                                             Attorney for Respondent
                                             Georgia Bar No. 373154

Dorough & Dorough, LLC
160 Clairemont Avenue, Suite 650
Decatur, Georgia 30030
(404) 687-9977
